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Attorneys for Plaintiffs

                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO

IDAHO CONSERVATION LEAGUE and )
NORTHWEST ENVIRONMENTAL       )                      Case No. 1:11-cv-161-REB
DEFENSE CENTER,               )
                              )                      FOURTH DECLARATION OF
          Plaintiffs,         )                      BRYAN HURLBUTT
                              )
     v.                       )
                              )
ATLANTA GOLD CORPORATION,     )
                              )
          Defendant.          )


       I, Bryan Hurlbutt, declare:

       1.      I am co-counsel of record for Plaintiffs in the above-captioned matter. I am over

21 years of age and have personal knowledge of the matters set forth below.

       2.      Attached is a true and correct copy of Atlanta Gold’s Discharge Monitoring

Report (“DMR”) for its wastewater treatment facility at the 900 Level Adit for the month of

August 2018 provided to me by AGC’s attorney Michelle Points on September 19, 2018.

       3.      I declare under penalty of perjury that the foregoing is true and correct. Executed

this 24th day of September, 2018, at Boise, Idaho.

                                                            /s/ Bryan Hurlbutt
                                                            Bryan Hurlbutt
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